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 6                               UNITED STATES DISTRICT COURT
 7                               EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,            )                 CR F 01-5359 AWI
                                          )
10                     Plaintiff,         )                 PRETRIAL ORDER
                                          )
11         v.                             )                 Trial Confirmation and
                                          )                 Motions In Limine Hearing:
12   STEVEN ANTHONY GROTE,                )                        November 20, 2006
                                          )                        9:00 AM, Courtroom 2
13                     Defendant.         )
     ____________________________________ )                 Trial: December 5, 2006
14                                        )                        8:30 AM, Courtroom 2
                                          )
15                                        )                 RULES OF CONDUCT
16
17
                    On June 5, 2006, the court set trial in this matter for December 5, 2006. Counsel
18
     shall be present at 8:30 AM to resolve any remaining matters.
19
     I. Motions In Limine Hearing and Briefing Schedule
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                    The hearing to consider motions in limine will be held on November 20, 2006, at
21
     9:00 AM in Courtroom Two. In addition to addressing any filed motions in limine, at that time
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     the court will conduct a trial confirmation hearing and, to the extent possible, address any other
23
     outstanding matters pertaining to the conduct of the trial.
24
                    By 4:00 PM on October 23, 2006, all motions in limine, with supporting points
25
     and authorities, shall be filed and served.
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                    By 4:00 PM on November 6, 2006, opposition to any motion in limine shall be
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     filed and served. If a party does not oppose a motion in limine, that party shall file and serve in
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 1   the same manner a Statement of Non-Opposition to that motion in limine.
 2                   By 4:00 PM on November 13, 2006, replies to any opposition shall be filed and
 3   served.
 4   II. Witness List
 5                   The United States shall file and serve its witness list by 4:00 PM on Thursday,
 6   November 30, 2006.
 7   III. Trial Briefs
 8                   All parties are directed to file and serve a trial brief by 4:00 PM on Thursday,
 9   November 30, 2006.
10                   The parties need not include in a trial brief any issue that is adequately addressed
11   in a motion in limine, or in an opposition brief to a motion in limine. Also, the court does not
12   require in a trial brief the advance disclosure of a party’s trial strategy or any information
13   protected from advance disclosure by constitutional, statutory or case authority.
14   IV. Proposed Jury Instructions
15                   The parties shall file and serve proposed jury instructions by 4:00 PM on
16   Thursday, November 30, 2006. along with a copy of the instructions on a 3-1/2 inch computer
17   disc, preferably formatted for WordPerfect 10.
18                   All proposed jury instructions shall be in duplicate. One set shall indicate the
19   party proposing the instruction, with each instruction numbered or lettered, shall cite supporting
20   authority, and shall include the customary “Given, Given as Modified, or Refused,” showing the
21   court’s action with regard to each instruction. The other set shall be an exact copy of the first set,
22   but shall be a “clean” copy that does not contain the identification of the offering party,
23   instruction number or letter, supporting authority, or reference to the court’s disposition of the
24   proposed instruction.
25                   The parties are ordered to confer after the trial confirmation hearing to determine
26   which instructions they agree should be given. As soon as possible thereafter, the parties shall
27   submit a list of joint, unopposed instructions. As to those instructions to which the parties
28   dispute, the court will conduct its jury instruction conference during trial at a convenient time.

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 1   V. Exhibits
 2                  The United States shall lodge with the Courtroom Deputy two sets of its exhibit
 3   binder, plus the original and two copies of its exhibit list, by 4:00 PM on Thursday, November
 4   30, 2006. The United States shall also serve copies of its exhibit binder and exhibit list upon
 5   defendant by 4:00 PM on Thursday, November 30, 2006.
 6                  The parties are ordered to confer after the trial confirmation hearing for the
 7   purpose of pre-marking exhibits. All joint exhibits must be pre-marked with numbers preceded
 8   by the designation JT/-- (e.g., JT/1, JT/2). The United States’ exhibits shall be pre-marked with
 9   numbers. Defense exhibits are to be pre-marked with letters.1
10          1. Counsel are to confer and make the following determination with respect to each
11   proposed exhibit to be introduced into evidence, and to prepare separate indexes - one listing
12   joint exhibits, and one listing each party’s separate exhibits:
13                  a. Duplicate exhibits, i.e., documents that all parties desire to introduce into
14   evidence, shall be marked as a joint exhibit, and numbered as directed above. Joint exhibits shall
15   be listed on a separate index, and shall be admitted into evidence on the motion of any party,
16   without further foundation.
17                  b. As to exhibits that are not jointly offered, and to which there is no objection to
18   introduction, those exhibits will likewise be appropriately marked, e.g., Plaintiff’s Exhibit 1 or
19   Defendant’s Exhibit A, and shall be listed in the offering party’s index in a column entitled
20   “Admitted In Evidence.” Such exhibits will be admitted upon introduction and motion of the
21   party, without further foundation.
22                  c. Those exhibits to which the only objection is a lack of foundation shall be
23   marked appropriately, e.g., Plaintiff’s Exhibit 2 - For Identification, or Defendant’s Exhibit B -
24   For Identification, and indexed in a column entitled “Objection Foundation.”
25                  d. Remaining exhibits as to which there are objections to admissibility not solely
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            1
27            To the extent that defendants are able to disclose exhibits in advance of trial, such
     exhibits shall be subject to the joint determination procedure set forth in this portion of the
28   Pretrial Order.

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 1   based on a lack of foundation shall likewise be marked appropriately, e.g., Plaintiff’s Exhibit 3 -
 2   For Identification or Defendant’s Exhibit C - For Identification, and indexed in a third column
 3   entitled “Other Objection” on the offering party’s index.
 4             2. Each separate index shall consist of the exhibit number or letter, a brief description
 5   of the exhibit, and the three columns outlined above, as demonstrated in the example below:
 6                                         INDEX OF EXHIBITS
 7                                      ADMITTED            OBJECTION            OTHER
     EXHIBIT # DESCRIPTION              IN EVIDENCE         FOUNDATION           OBJECTION
 8
 9
10                   The court has no objection to counsel using copies. However, the copies must be
11   legible. If any document is offered into evidence that is partially illegible, the court may sua
12   sponte exclude it from evidence.
13   VI. Voir Dire
14                   The parties shall file and serve proposed voir dire questions, if any, by 4:00 PM
15   on Thursday, November 30, 2006.
16          Further, in order to aid the court in the proper voir dire examination of the prospective
17   jurors, counsel should lodge with the court on the first morning of trial a list of all prospective
18   witnesses, including rebuttal witnesses, that counsel reasonably expect to call. The purpose of
19   the lists is to advise the prospective jurors of possible witnesses to determine if a prospective
20   juror is familiar with any potential witness.
21   VII. Use Of Videotape and Computers
22                   Any party wishing to use a videotape for any purpose during trial shall lodge a
23   copy of the videotape with the Courtroom Clerk by 4:00 PM on Thursday, November 30, 2006.
24   If a written transcript of audible words on the tape is available, the court requests that the
25   transcript be lodged with the court, solely for the aid of the court.
26                   If counsel intends to use a laptop computer for presentation of evidence, they shall
27   contact the courtroom deputy clerk at least one week prior to trial. The courtroom deputy clerk
28   will then arrange a time for counsel to bring the laptop to the courtroom, and meet with a

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 1   representative of the Information and Technology Department and receive a brief training session
 2   on how counsel’s equipment interacts with the court’s audio/visual equipment. If counsel
 3   intends to use PowerPoint, the resolution should be set no higher than 1024 x 768 when
 4   preparing the presentation.
 5   VIII. Agreed Summary Of The Case
 6                  The parties shall lodge with the Courtroom Clerk a joint agreed summary of the
 7   case, briefly outlining the positions of the parties by 4:00 PM on Thursday, November 30, 2006.
 8   The summary will be read to the jury panel at the outset of the trial solely for the purposes of
 9   assisting in the jury selection process. The contents of the summary shall not be deemed to be
10   evidence or an admission or stipulation by a party as to any contested fact or issue.
11   IX. Morning Conferences During Trial
12                  During the trial, it is the obligation of counsel to meet with the court each morning
13   to advise the court and opposing counsel as to what documents are proposed to be put into
14   evidence that have not previously been admitted by stipulation, court order, or otherwise ruled
15   upon. The court will rule on those documents, to the extent possible, prior to the commencement
16   of trial each day out of the presence of the jury. If the ruling depends upon the receipt of
17   testimony, the court will rule as requested upon the receipt of such testimony.
18                  The court shall consider any other legal matter at morning conferences as well.
19   The court does not wish to recess the trial to hear legal argument outside of the presence of the
20   jury, and proper preparation by counsel will eliminate the need for that result.
21   X. Objections To Pretrial Order
22                  As to any deadline in this Order that occurs after the date of the trial confirmation
23   hearing, any party may ask for reconsideration and/or the court may sua sponte revise that date at
24   the trial confirmation hearing. Other than such dates, any party who objects to any aspect of this
25   Pretrial Order may, within ten (10) calendar days after the date of service of this order, file and
26   serve written objections to such provisions of this order. Any such objection shall specify a
27   requested correction, addition or deletion.
28   XI. Rules of Conduct During Trial

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 1          A. General Rules
 2          1. All participants in the trial shall conduct themselves in a civil manner. There
 3   shall be no hostile interchanges between any of the participants.
 4          2. All oral presentations shall be made from the podium, unless otherwise
 5   permitted by the court.
 6          3. Sidebar conferences are discouraged. Legal arguments or discussion of issues
 7   outside the presence of the jury should be done during recesses.
 8          4. Counsel shall advise their respective clients and witnesses not to discuss any
 9   aspect of the case in the common areas of the courthouse accessible to the jurors, such as
10   the lobby, the elevators, the hallways and the cafeteria.
11          B. Jury Selection
12          1. The court will conduct voir dire to be supplemented by any written questions
13   submitted by counsel prior to trial and after the court has concluded its questioning of the
14   jury panel. In some circumstances, the court may allow brief direct questioning by
15   counsel.
16          C. Opening Statements
17          1. Counsel may use visual aids in presenting the opening statement. However,
18   any proposed visual aids shall be shown to opposing counsel before opening statement.
19          D. Case in Chief
20          1. Counsel shall have his/her witnesses readily available to testify so that there are
21   no delays in the presentation of evidence to the trier of fact.
22          2. At the close of each trial day, counsel shall disclose his/her anticipated
23   witnesses and order of presentation for the next day, so that any scheduling or evidentiary
24   issues may be raised at that time.
25          E. Witnesses
26          1. Before approaching a witness, counsel shall secure leave of court to approach
27   the witness.
28          2. Before approaching a witness with a writing, counsel shall first show the

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 1   writing to opposing counsel.
 2          F. Exhibits
 3          1. All exhibits shall be marked and identified in accordance with the instructions
 4   in the Pretrial Order.
 5          2. An exhibit shall not be published to the jury until it has been admitted into
 6   evidence and counsel has secured leave of court to publish the exhibit.
 7          3. The court usually will conduct an on the record review of the exhibits that have
 8   been admitted in evidence at the conclusion of each party’s case in chief and after each
 9   party has rested its entire case.
10          G. Objections
11          1. No speaking objections or arguments are permitted in the presence of the jury.
12   Counsel shall state the specific legal ground(s) for the objection, and the court will rule
13   based upon the ground(s) stated. The court will permit counsel to argue the matter at the
14   next recess.
15          2. The court will not assume that any objection made also implies with it a motion
16   to strike an answer that has been given. Therefore, counsel who has made an objection,
17   and who also wishes to have an answer stricken, shall also specifically move to strike the
18   answer.
19          H. Closing Argument
20          1. Counsel may use visual aids in presenting the closing argument. However, any
21   proposed visual aids shall be shown to opposing counsel before closing argument.
22
23   FAILURE TO COMPLY WITH ALL PROVISIONS OF THIS ORDER MAY BE GROUNDS
24   FOR THE IMPOSITION OF SANCTIONS ON ANY AND ALL COUNSEL AS WELL AS ON
25   ANY PARTY WHO CAUSES NON-COMPLIANCE WITH THIS ORDER
26   IT IS SO ORDERED.
27   Dated:     June 5, 2006                         /s/ Anthony W. Ishii
     0m8i78                                    UNITED STATES DISTRICT JUDGE
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